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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MARYLAND
                                  (Baltimore Division)

In re
                                                         Case No. 25-10308 (DER)
Diamond Comic Distributors, Inc., et al.,
                                                         Chapter 11
                                    1
                         Debtors.
                                                         (Jointly Administered)


                  GLOBAL NOTES AND STATEMENT OF LIMITATIONS,
                   METHODOLOGY, AND DISCLAIMER REGARDING
                     DEBTORS’ SCHEDULES AND STATEMENTS

        The Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial
Affairs (the “Statements”) filed by Diamond Comic Distributors, Inc., and its affiliated debtors
and debtors in possession (collectively, the “Debtors”) in the United States Bankruptcy Court for
the District of Maryland (the “Bankruptcy Court”) were prepared pursuant to section 521 of title
11 of the United States Code, 11 U.S.C. 101–1532 (the “Bankruptcy Code”) and Federal Rule of
Bankruptcy Procedure 1007 by the Debtors’ management, under the supervision of the Debtors’
chief restructuring officers (the “Co-CROs”), and are unaudited. While the members of
management responsible for the preparation of the Schedules and Statements have made a
reasonable effort to ensure that the Schedules and Statements are accurate and complete based on
information known to them at the time of preparation and after reasonable inquiries, inadvertent
errors may exist and/or the subsequent receipt of information may result in material changes to
financial and other data contained in the Schedules and Statements that may warrant amendment
of the same. Moreover, because the Schedules and Statements contain unaudited information
that is subject to further review and potential adjustment, there can be no assurance that these
Schedules and Statements are complete or accurate.

       These Global Notes and Statement of Limitations, Methodology, and Disclaimer
Regarding Debtors’ Schedules and Statements (the “Global Notes”) pertain to, are incorporated
by reference in, and comprise an integral part of, the Debtors’ Schedules and Statements. In the
event of any inconsistency between the Global Notes and the Schedules and Statements, the
Global Notes shall control and govern.

        The Schedules and Statements have been signed by an authorized representative of the
Debtors. In reviewing and signing the Schedules and Statements, this representative relied upon
the efforts, statements and representations of the Debtors’ other personnel and professionals.
The representative has not (and could not have) personally verified the accuracy of each such

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    The Debtors in these chapter 11 cases along with the last four digits of the Debtors’ federal tax identification
    numbers are: Diamond Comic Distributors, Inc. (3450); Comic Holdings, Inc. (7457); Comic Exporters, Inc.
    (7458); and Diamond Select Toys & Collectibles, LLC (6585). The Debtors’ mailing address is: 10150 York
    Road, Suite 300, Hunt Valley, Maryland 21030.
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statement and representation, including, for example, statements and representations concerning
amounts owed to creditors and their addresses.

        1.      Case. On January 14, 2025 (the “Petition Date”), the Debtors filed voluntary
petitions for relief under chapter 11 of the Bankruptcy Code. Unless otherwise indicated, the
information provided is as of the close of business on January 13, 2025.

        2.     Amendments. The Debtors reserve the right to amend the Schedules and
Statements in all respects at any time as may be necessary or appropriate, including, without
limitation, the right to dispute or to assert offsets or defenses to any claim reflected on the
Schedules and Statements as to amount, liability, or classification, or to otherwise subsequently
designate any claim as “disputed,” “contingent,” or “unliquidated.” Any failure to designate a
claim as “contingent,” “unliquidated,” or “disputed” does not constitute an admission by the
Debtors that such claim is not “contingent,” “unliquidated,” or “disputed.”

        3.     Estimates and Assumptions. The preparation of the Schedules and Statements
requires the Debtors to make estimates and assumptions that affect the reported amounts of
assets and liabilities, the disclosures of contingent assets and liabilities on the date of the
Schedules and Statements, and the reported amounts of revenues and expenses during the
reporting period. Actual results could differ from those estimates.

       4.      Unknown Amounts. Some of the scheduled liabilities are unknown and
unliquidated at this time. In such cases, the amounts are listed as “Unknown” or “Unliquidated.”
Because certain scheduled liabilities are unknown and unliquidated, the Schedules and the
Statements do not accurately reflect the aggregate amount of the Debtors’ liabilities.

         5.     Pre-Petition vs. Post-Petition. The Debtors have sought to allocate liabilities
between the pre-petition and post-petition periods based on the information derived from
research and investigation conducted during the preparation of these Schedules and Statements.
As additional information becomes available and further research is conducted, the allocation of
liabilities between pre-petition and post-petition periods may change. The liabilities listed on the
Schedules do not reflect any analysis of claims under section 503(b)(9) of the Bankruptcy Code.
Accordingly, the Debtors reserve all rights to dispute or challenge the validity of any asserted
claims under section 503(b)(9) of the Bankruptcy Code or the characterization of the structure of
any such transaction or any document or instrument related to any creditor’s claim.

        6.      GAAP. Given the difference between the information requested in the Schedules
and Statements, and the financial information utilized under generally accepted accounting
principles in the United States (“GAAP”), the aggregate asset values and claim amounts set forth
in the Schedules and Statements do not necessarily reflect the amounts that would be set forth in
a balance sheet prepared in accordance with GAAP.

        7.      Asset Values. It would be prohibitively expensive, unduly burdensome,
inefficient, and time-consuming to obtain additional market valuations of the Debtors’ property
interests. Accordingly, to the extent any asset value is listed herein, and unless otherwise noted
therein, net book values rather than current market values of the Debtors’ property interests are
reflected in the applicable Schedule. As applicable, assets that have been fully depreciated or

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were expensed for accounting purposes have no net book value. Unless otherwise indicated, all
asset amounts and claim amounts are listed as of January 13, 2025. The Debtors reserve the
right to amend or adjust the value of each asset or liability as set forth herein.

        8.     Setoff or Recoupment Rights. The Debtors have not included on Schedule D
parties that may believe their claims are secured through setoff rights, deposits posted by or on
behalf of the Debtors, or inchoate statutory lien rights. The Debtors routinely incur setoffs and
net payments in the ordinary course of business. Due to the nature of setoffs and nettings, it
would be burdensome and costly for the Debtors to list each such transaction. Therefore,
although such setoffs and other similar rights may have been accounted for when scheduling
certain amounts, these ordinary course setoffs are not independently accounted for and, as such,
are or may be excluded from the Schedules and Statements. In addition, some amounts listed in
the Schedules and Statements may have been affected by setoffs or nettings by third parties of
which the Debtors are not yet aware. The Debtors reserve all rights to challenge any setoff or
recoupment rights that may be asserted.

        9.     Co-Obligors. No claim set forth on the Schedules and Statements of the Debtors
is intended to acknowledge claims of creditors that are otherwise satisfied or discharged by
another party.

        10.     Collectibles with Disputed Ownership. As reflected on Schedule A/B question
42, Debtor Diamond Comic Distributors, Inc., has certain collectibles subject to an ownership
dispute between Diamond Comic Distributors Inc., and Stephen Geppi. The Debtors reserve all
rights with respect to title of these collectibles.

        11.    Causes of Action. The Debtors reserve all of their causes of action. Neither
these Global Notes nor the Schedules and Statements shall be deemed a waiver of any such cause
of action. Likewise, the failure to list a cause of action in question 74 of Schedule A/B or SOFA
question 7 shall not be deemed a waiver of any such cause of action. Furthermore, nothing
contained in the Schedules and Statements shall constitute a waiver of rights with respect to
these chapter 11 cases, equitable subordination, and/or causes of action arising under the
provisions of chapter 5 of the Bankruptcy Code and other relevant nonbankruptcy laws to
recover assets or avoid transfers.

         12.    Other Contingent and Unliquidated Claims or Causes of Action. The failure
to list any such claims or causes of action in the Schedules and Statements, including in response
to Schedule A/B question 75, is not an admission that such cause of action, claim, or right does
not exist, and should not be construed as a waiver of such cause of action, claim, or right.

       13.     Insiders. The listing of a party as an insider is not intended to be, nor should it be,
construed as a legal characterization of such party as an insider and does not act as an admission
of any fact, claim, right, or defense, and all such rights, claims, and defenses are hereby
expressly reserved. Further, employees have been included in this disclosure for informational
purposes only and should not be deemed to be “insiders” in terms of control of the Debtors,
management responsibilities or functions, decision-making or corporate authority and/or as
otherwise defined by applicable law, including, without limitation, the federal securities laws, or


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with respect to any theories of liability or for any other purpose.

        14.    Intercompany Claims. As described more fully in the Debtors’ Motion for
Entry of Interim and Final Orders (I) Authorizing Continued Use of Existing Cash Management
System, Bank Accounts, and Business Forms and Payment of Related Prepetition Obligations,
(II) Authorizing Continuation of Ordinary Course Intercompany Transactions, (III) Extending
Time to Comply with the Requirements of 11 U.S.C. § 345(b), and (IV) Granting Related Relief
[D.I. 14] (the “Cash Management Motion”), the Debtors regularly engage in a range of
intercompany transactions in the ordinary course of business. The Bankruptcy Court authorized
the Debtors to continue such intercompany transactions in the ordinary course of business
pursuant to the order granting the Cash Management Motion [D.I. 130]. Intercompany
transactions are included in the Schedules as reflected on the Debtors’ books and records. The
Debtors reserve all rights as to how the intercompany transactions are characterized.

        15.     Receivable from Stephen Geppi. The Debtors have listed a receivable from the
Debtors’ Chief Executive Officer and ultimate principal, Stephen Geppi, in response to Schedule
A/B question 77 for Debtor Diamond Comic Distributors, Inc. The amount listed is an estimate
and remains subject to the Debtors’ ongoing review and analysis. The Debtors reserve all rights
with respect to any receivables owed to the Debtors by Mr. Geppi.

        16.     Intellectual Property. The exclusion of any intellectual property shall not be
construed as an admission that such intellectual property rights have been abandoned,
terminated, assigned, expired by their terms, or otherwise transferred. Conversely, inclusion of
certain intellectual property shall not be construed to be an admission that such intellectual
property rights have not been abandoned, terminated, assigned, expired by their terms, or
otherwise transferred. The Debtors reserve all rights with respect to the legal status of any and
all such intellectual property rights.

             17.        Fiscal Year. The Debtors’ fiscal year ends on December 31.

             18.        Currency. All amounts are reflected in U.S. dollars.

      19.    Summary of Significant Reporting Policies and Practices. The following
conventions were adopted by the Debtors in preparation of the Schedules and Statements:

                        (a)    Fair Market Value; Book Value. Unless otherwise noted therein, the
                               Schedules and Statements reflect the carrying value of the liabilities as
                               listed in the Debtors’ books and records. Where the current market value
                               of assets is unknown, the Debtors have based their valuation on book
                               values net of depreciation. The Debtors reserve the right to amend or
                               adjust the value of each asset or liability set forth herein.

                        (b)    Leased Real and Personal Property. In the ordinary course of business,
                               certain of the Debtors may enter into agreements titled as leases for
                               property, other real property interests, and equipment from third party
                               lessors for use in the daily operation of their business. The Debtors believe


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                              that all such leases are set forth in the Schedules and Statements. Any
                              known prepetition obligations of the Debtors for equipment or similar
                              leases have been listed on Schedule E/F, the underlying lease agreements
                              are listed on Schedule G, or, if the leases are in the nature of real property
                              interests under applicable state laws, such interests are reflected on
                              Schedule A/B. The Schedules and Statements do not reflect any right-of-
                              use assets. Nothing in the Schedules or Statements is or shall be construed
                              as an admission or determination as to legal status of any lease (including
                              whether to assume and assign or reject such lease or whether it is a true
                              lease or a financing arrangement), and the Debtors reserve all rights with
                              respect to all such issues.

                        (c)   Disputed, Contingent and/or Unliquidated Claims. Schedules D, E, and F
                              permit the Debtors to designate a claim as disputed, contingent, and/or
                              unliquidated. A failure to designate a claim on any of these Schedules and
                              Statements as disputed, contingent, and/or unliquidated does not constitute
                              an admission that such claim is not subject to objection. The Debtors
                              reserve the right to dispute, or assert offsets or defenses to, any claim
                              reflected on these Schedules and Statements as to amount, liability, or
                              status.

                        (d)   Payments Made within 90 Days prior to the Petition Date and Payments to
                              Insiders within One Year of Petition Date.         Payments made in the
                              ordinary course of the Debtors’ business to employees for salaries, wages,
                              bonuses, commissions, and employee benefits, payroll taxes and sales
                              taxes were omitted from the SOFA question 3. Payments to insiders within
                              one year of the Petition Date, including transfers within 90 days of the
                              Petition Date, are listed in response to SOFA question 4 and are not
                              separately set forth in response to SOFA question 3. In preparing their
                              responses to SOFA question 4, and in the interest of full disclosure, the
                              Debtors used an expansive interpretation of the term “insider.” Inclusion
                              or omission of a creditor as an “insider” on the Debtors’ response to
                              SOFA question 4 is not determinative as to whether a creditor is actually
                              an “insider,” as such term is defined in the Bankruptcy Code and the
                              Debtors reserve all of their rights with respect to such characterization.
                              Moreover, payments are listed in response to SOFA questions 3 and 4
                              without regard as to whether such payments were made on account of
                              antecedent debt, and the Debtors reserve all of their rights with respect to
                              such issue.

                        (e)   Statement of Financial Affairs – Payments to Professionals. The Debtor’s
                              response to SOFA question 3 does not include transfers to bankruptcy
                              professionals, which transfers appear in response to SOFA question 11.

                        (f)   Statement of Financial Affairs – Payments to Insiders. Both questions 4
                              and 30 in the SOFAs request information regarding payments to insiders,


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                              and all such information is provided in response to question 4. The
                              Debtors reserve all rights with respect to the characterization of payments
                              listed in response to questions 4 and 30.

                        (g)   Statement of Financial Affairs – Suits and Administration Proceedings.
                              Although the Debtors have attempted to list in question 7 all known
                              claimants with pending suits or administrative proceedings, certain actions
                              may have been inadvertently omitted. The Debtors reserve all of their
                              rights with respect to any such claims or causes of action they may have
                              and neither these Global Notes nor the Schedules and Statements shall be
                              deemed a waiver of any such causes of action.

                        (h)   Statement of Financial Affairs - Inventory. Inventories are valued in the
                              Schedules and Statements at the values indicated on the Debtors’ books
                              and records. In answering SOFA question 27, the Debtors have not
                              performed a formal physical inventory within two years of the Petition
                              Date. However, the operations managers at each Debtor facility perform
                              cycle counts daily and these counts are reflected in the Debtors’
                              warehouse management system.

        20.      Schedule D. Although the Debtors may have scheduled claims of various
creditors as secured claims, the Debtors reserve all rights to dispute or challenge the secured
nature of any such creditor’s claim or the recharacterization of the structure of any such
transaction or any document or instrument related to such creditor’s claim except as otherwise
agreed to pursuant to a stipulation or an agreed order or any other order entered by the
Bankruptcy Court. No claim set forth on Schedule D is intended to acknowledge claims of
creditors that are otherwise satisfied or discharged by other entities. The descriptions provided
in Schedule D are intended only as a summary. Reference to the applicable loan agreements and
related documents is necessary for a complete description of the collateral and the nature, extent
and priority of any liens. Nothing in the Global Notes or the Schedules and Statements shall be
deemed a modification or interpretation of the terms of such agreements. The Debtors reserve all
rights to amend Schedule D to the extent that the Debtors determine that any claims associated
with such agreements should be reported on Schedule D. Nothing herein shall be construed as
an admission by the Debtors of the legal rights of a claimant or a waiver of the Debtors’ rights to
recharacterize or reclassify a claim or contract.

       21.       Schedule E/F. The Debtors’ analysis of potential priority claims is ongoing, and
any amounts listed as priority claims on Schedule E/F remain subject to such analysis.
Amendments will be made to Schedule E/F as necessary. Although reasonable efforts have been
made to identify the date of incurrence of each claim, determining the date upon which each
claim on Schedule E/F was incurred or arose would be unduly burdensome and cost prohibitive,
and therefore, the Debtors either do not list a date or list “various” for the date for each claim on
Schedule E/F.

       Schedule E/F may contain potential claims on account of pending litigation involving the
Debtors. Any potential claim associated with any such pending litigation is marked as


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contingent, unliquidated and disputed in the Schedules and Statements. Some of the potential
litigation listed on Schedule E/F may be subject to subordination pursuant to section 510 of the
Bankruptcy Code. In addition, workers’ compensation claims that are covered in full under the
Debtors’ insurance policies are not included on Schedule E/F. Any information contained in
Schedule E/F with respect to pending or potential litigation is not a binding representation of the
Debtors’ liabilities with respect to any of the potential suits and proceedings included therein.

       Schedule E/F reflects prepetition amounts owing to counterparties to executory contracts
and unexpired leases. Such prepetition amounts, however, may be paid in connection with the
assumption, or assumption and assignment, of executory contracts and unexpired leases.
Schedule E/F does not include potential rejection damage claims, if any, of the counterparties to
executory contracts and unexpired leases that may be rejected in the future.

        Pursuant to the Order (I) Authorizing the Debtors to (A) Pay Prepetition Employee
Wages, Benefits, and Other Compensation Obligations and (B) Maintain the Compensation and
Benefits Programs, and (II) Granting Related Relief [D.I. 50] (the “Wages Order”), the Debtors
were authorized to pay, and did pay, certain pre-petition claims for employee wages and other
related obligations. To the extent parties were paid pre-petition amounts owed to such parties
pursuant to the authority granted in the Wages Order, such parties are not listed in the Schedules.

       Likewise, pursuant to the Final Order Authorizing the Debtors to (I) Pay Certain
Prepetition Taxes and Fees, and (II) Granting Related Relief [D.I. 129] (the “Tax Order”), the
Debtors were authorized to pay, and did pay, certain pre-petition claims for outstanding taxes
and fees. To the extent parties were paid prepetition amounts pursuant to the authority granted in
the Tax Order, such parties are not listed in the Schedules.

         19. Schedule G. Although reasonable efforts have been made to ensure the accuracy
of Schedule G, inadvertent errors may have occurred. Certain information, such as the contact
information of the counterparty, may not be included where such information could not be
obtained using reasonable efforts. Listing a contract or agreement on Schedule G does not
constitute an admission that such contract or agreement was an executory contract or unexpired
lease as of the Petition Date, or that it is valid or enforceable. The Debtors hereby reserve all
rights to dispute or challenge the validity, status or enforceability of any contracts, agreements or
leases set forth on Schedule G, including contracts, agreements or leases that may have expired
or may have been modified, amended, and supplemented from time to time by various
amendments, restatements, waivers, estoppel certificates, letters and other documents that may
not be listed on Schedule G, and to amend or supplement Schedule G as necessary. Certain of
the leases and contracts listed on Schedule G may contain certain renewal options, guarantees of
payment, indemnifications, options to purchase, rights of first refusal and other miscellaneous
rights. Such rights, powers, duties and obligations are not set forth separately on Schedule G.
The Debtors reserve all rights with respect to such agreements.

        Certain of the contracts and agreements listed on Schedule G may consist of several
parts, including but not limited to, purchase orders, amendments, restatements, waivers, letters
and other documents that may not be listed on Schedule G or that may be listed as a single entry.
In some cases, the same vendor or provider may appear multiple times on Schedule G. This
multiple listing is intended to reflect distinct agreements between the applicable Debtor and such

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supplier or provider. The Debtors expressly reserve their rights to challenge whether such
related materials constitute an executory contract, a single contract, or multiple, severable or
separate contracts. Certain of the executory agreements may not have been memorialized in
writing and could be subject to dispute. In addition, the Debtors may have entered into various
other types of agreements in the ordinary course of their business, such as subordination
agreements, supplemental agreements, settlement agreements, amendments/letter agreements,
and confidentiality agreements. Such documents may not be set forth on Schedule G. The
Debtors also reserve all rights to dispute or challenge the characterization of the structure of any
transaction, or any document or instrument related to a creditor’s claim. Further, the Debtors
reserve all rights to later amend the Schedules and Statements to the extent that additional
information regarding the Debtor obligor to an executory contract becomes available.

        Omission of a contract or agreement from Schedule G does not constitute an admission
that such omitted contract or agreement is not an executory contract or unexpired lease. The
Debtors’ rights under the Bankruptcy Code with respect to any such omitted contracts or
agreements are not impaired by the omission. Any and all of the Debtors’ rights, claims, and
causes of action regarding the contracts and agreements listed on Schedule G are reserved and
preserved. Schedule G may be amended at any time to add any omitted contract, agreement or
lease.

        20. Schedule H. For ease of review and user-friendliness, Schedule H for each Debtor
contains a list of co-obligors for all of the Debtors and a description of the relevant obligations,
and is not limited to specific debts of the Debtor. The Debtors have not listed any litigation-
related co-defendants on Schedule H. The Debtors also may not have identified certain
guarantees associated with the Debtors’ executory contracts, unexpired leases, secured
financings, debt instruments and other such agreements. The Debtors reserve all rights to amend
the Schedules to the extent that additional guarantees are identified or such guarantees are
discovered to have expired or be unenforceable.

        Neither the Debtors, their agents, nor their attorneys guarantee or warrant the accuracy,
the completeness, or correctness of the data that is provided herein or in the Schedules and
Statements, and neither are they liable for any loss or injury arising out of, or caused in whole or
in part by, the acts, errors or omissions, whether negligent or otherwise, in procuring, compiling,
collecting, interpreting, reporting, communicating or delivering the information herein. While
every effort has been made to provide accurate and complete information herein, inadvertent
errors or omissions may exist. The Debtors and their agents, attorneys and advisors expressly do
not undertake any obligation to update, modify, revise or re-categorize the information provided
herein, or to notify any third party should the information be updated, modified, revised or re-
categorized. In no event shall the Debtors or their agents, attorneys and advisors be liable to any
third party for any direct, indirect, incidental, consequential or special damages (including, but
not limited to, damages arising from the disallowance of a potential claim against the Debtors or
damages to business reputation, lost business or lost profits), whether foreseeable or not, and
however caused, even if the Debtors or their agents, attorneys and advisors are advised of the
possibility of such damages.




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  Fill in this information to identify the case:
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 Debtor name: Diamond Select Toys & Collectibles, LLC
 United States Bankruptcy Court for the Baltimore Division, District of Maryland                                                                                                      Check if this is an amended filing
 Case number (If known): 25-10312


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                                                                                               04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if
known).

 Part 1:            Income

 1. Gross revenue from business

            None
                                                                                                                                                   Sources of revenue                           Gross revenue
              Identify the beginning and ending dates of the debtor's fiscal year, which may be a calendar year
                                                                                                                                                   Check all that apply                         (before deductions and exclusions)

                                                                                                                                                    ✔   Operating a business
              From the beginning of the fiscal year               From            01/01/2025               to         01/13/2025
                                                                                                                                                                                               $131,451.20
              to filing date:                                                     MM / DD /YYYY                       MM / DD /YYYY                      Other

                                                                                                                                                    ✔   Operating a business
                                                                  From            01/01/2024               to         12/31/2024
                                                                                                                                                                                               $7,620,364.99
              For prior year:                                                     MM / DD /YYYY                       MM / DD /YYYY                      Other

                                                                                                                                                    ✔   Operating a business
                                                                  From            01/01/2023               to         12/31/2023
                                                                                                                                                                                               $15,093,327.60
              For the year before that:                                           MM / DD /YYYY                       MM / DD /YYYY                      Other



 2. Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not
     include revenue listed in line 1.

      ✔     None
Part 2:                                            Case
                          List Certain Transfers Made Before25-10308           Doc 153
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3. Certain payments or transfers to creditors within 90 days before filing this case
       List payments or transfers including expense reimbursements to any creditor, other than regular employee compensation, within 90 days before filing this case unless the aggregate value of all property transferred to that creditor is less
       than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)


                 None
                 Creditor's name and address                                                                Dates                    Total amount or value                          Reasons for payment or transfer
                                                                                                                                                                                    Check all that apply



3.1.             See Attached Exhibit SOFA 3                                                                                          $ 1,952,226.94                                     Secured debt
                 Creditor's name                                                                                                                                                         Unsecured loan repayments
                                                                                                                                                                                         Suppliers or vendors
                 Street                                                                                                                                                                  Services
                                                                                                                                                                                         Other
                 City                                        State                    ZIP Code


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
       List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or
       for the benefit of the insider is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
       Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
       agent of the debtor. 11 U.S.C. § 101(31)


                 None
                 Insider's name and address                                                                 Dates                    Total amount or value                          Reasons for payment or transfer



4.1.             See Attached Exhibit SOFA 4                                                                                          $ 187,178.66
                 Insider's name


                 Street


                 City                                        State                    ZIP Code
                 Relationship to debtor




5. Repossessions, foreclosures, and returns
       List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the
       seller. Do not include property listed in line 6

        ✔        None

6. Setoffs
       List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the debtor without permission or refused to make a payment at the debtor's
       direction from an account of the debtor because the debtor owed a debt

        ✔        None


Part 3:                   Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
       List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any capacity-within 1 year before filing this case


                 None

        Case title                                                   Nature of case                                               Court or agency's name and address                                                              Status of case


7.1 First Factory, Inc. v. Diamond Comic Distributors, Inc.,         Breach of Contract                                           Supreme Court of the State of New York County of Suffolk                                         ✔ Pending
        et al.                                                                                                                    Name                                                                                                On appeal
         Case number                                                                                                              Cromarty Court Complex, 210 Center Drive                                                            Concluded

        628601/2024                                                                                                               Street
                                                                                                                                  Riverhead                                      NY                        11901
                                                                                                                                  City                                           State                     ZIP Code


8. Assignments and receivership
       List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this
       case

        ✔        None


Part 4:                   Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value​ of the gifts to that recipient is less than $1,000
        ✔        None
                                                       Case 25-10308                            Doc 153                  Filed 02/17/25                         Page 11 of 18
Part 5:                Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case


      ✔     None


Part 6:                Certain Payments or Transfers

11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to another person or entity, including attorneys, that the debtor
     consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

      ✔     None

12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a self-settled trust or similar device. Do not include transfers already listed on
     this statement.



 ✔     None

13. Transfers not already listed on this statement
     List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within 2 years before the filing of this case to another person, other than property
     transferred in the ordinary course of business or financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.



 ✔     None


Part 7:                Previous Locations

14. Previous addresses
     List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.



 ✔     None


Part 8:                Health Care Bankruptcies

15. Health Care bankruptcies
     Is the debtor primarily engaged in offering services and facilities for:
     --- diagnosing or treating injury, deformity, or disease, or
     --- providing any surgical, psychiatric, drug treatment, or obstetric care?
      ✔    None

Part 9:                Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?
          No. Go to Part 9
      ✔ Yes. State the nature of the information collected and retained. Name, address, email, phone number (Not stored by company)

          Does the debtor have a privacy policy about that information?
             No
           ✔ Yes


17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other​ pension or profit-sharing plan made available by
    the debtor as an employee benefit?
        No. Go to Part 10.
      ✔ Yes. Does the debtor serve as plan administrator?

             No. Go to Part 10.
           ✔ Yes. Fill in below:

           Name of plan                                                                                                                                  Employer identification number of the plan
           Diamond Employee Savings And 401(K) Plan Profit Sharing Plan And Trust (ID # 168533-01)                                                       EIN: XX-XXXXXXX
          Has the plan been terminated?
           ✔ No.
              Yes.



Part 10:               Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold, moved, or transferred? Include checking, savings, money market, or other financial
     accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses, cooperatives, associations, and other financial institutions.



 ✔     None
19. Safe deposit boxes                                  Case 25-10308                            Doc 153                  Filed 02/17/25                        Page 12 of 18
      List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.



 ✔      None

20. Off-premises storage
      List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the debtor does business.



 ✔      None


Part 11:              Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another


 ✔      None


Part 12:              Details About Environmental Information

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
       ✔ No.
          Yes. Provide details below


23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an​ environmental law?
       ✔ No.
          Yes. Provide details below


24. Has the debtor notified any governmental unit of any release of hazardous material?
       ✔ No.
          Yes. Provide details below


Part 13:              Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
✔   None

26.       Books, records, and financial statements
          26a.List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.
                      None

          26a.1.
                       Name and address                                                                                                                                              Dates of service

                     Larry Swanson
                                                                                                                                                                                     From          06/22/1987   To Present
                     Name
                     10150 York Rd
                     Street
                     Cockeysville                                                                   MD                                     21030
                     City                                                                           State                                  ZIP Code
                     United States
                     Country



          26a.2.
                       Name and address                                                                                                                                              Dates of service

                     Tom Garey
                                                                                                                                                                                     From          11/14/1996   To Present
                     Name
                     10150 York Rd
                     Street
                     Cockeysville                                                                   MD                                     21030
                     City                                                                           State                                  ZIP Code
                     United States
                     Country



          26a.3.
                       Name and address                                                                                                                                              Dates of service

                     Henry Priller
                                                                                                                                                                                     From          08/24/1992   To 06/13/2023
                     Name
                     10150 York Rd
                     Street
                     Cockeysville                                                                   MD                                     21030
                     City                                                                           State                                  ZIP Code
                     United States
                     Country
                                          Case
       26b.List all firms or individuals who       25-10308
                                             have audited, compiled, or Doc    153
                                                                        reviewed          Filedof account
                                                                                 debtor's books   02/17/25and recordsPage     13a financial
                                                                                                                     or prepared  of 18 statement within 2 years before filing
       this case.
         ✔        None

       26c.List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.
         ✔        None

       26d.List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement within 2 years before
       filing this case.
                None


         26d.1.
                      Name and address

                     JPMorgan Chase Bank, N.A.
                     Name
                     P.O. Box 69165
                     Street
                     Baltimore                                                           MD                                 21264-9165
                     City                                                                State                              ZIP Code
                     United States
                     Country



27. Inventories
    ✔ No.
       Yes. Give the details about the two most recent inventories.


28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in control of the debtor at the time of the
    filing of this case.

    Name                                                               Address                                                           Position and nature of any interest       % of interest, if any


   DST Investments, LLC                                               10150 York Rd, Cockeysville, MD 21030                            Member                                  99


   Steven A. Geppi Revocable Trust                                    10150 York Rd, Cockeysville, MD 21030                            Member                                  1


   Steven Geppi                                                       10150 York Rd, Cockeysville, MD 21030                            CEO


                                                                      c/o Getzler Henrich, 295 Madison Ave, 20th Fl., New York, NY
   Robert Gorin                                                       10017                                                            Co-CRO


                                                                      c/o Getzler Henrich, 295 Madison Ave, 20th Fl., New York, NY
   William Henrich                                                    10017                                                            Co-CRO


   Brad Scher                                                         10150 York Rd, Cockeysville, MD 21030                            Independent Director


   A. Charles Terceira                                                10150 York Rd, Cockeysville, MD 21030                            President


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control​ of the debtor, or shareholders in control
    of the debtor who no longer hold these positions?
    ✔ No.
       Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    ✔ No.
       Yes. Identify below.


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
    ✔ No.
       Yes. Identify below.


32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
    ✔ No.
       Yes. Identify below.
                                            Case 25-10308                Doc 153          Filed 02/17/25               Page 14 of 18
Part 14:        Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
      bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and correct.

      I declare under penalty of perjury that the foregoing is true and correct

       Executed on                            02/17/2025
                                              MM / DD / YYYY


       /s/ Robert Gorin                                                                              Printed name Robert Gorin
       Signature of individual signing on behalf of the debtor


       Position or relationship to debtor                        Chief Restructuring Officer

      Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
           No
       ✔ Yes
    Case 25-10308    Doc 153   Filed 02/17/25   Page 15 of 18




    STATEMENT OF FINANCIAL AFFAIRS


                         EXHIBIT
                    PART 2, QUESTION 3

CERTAIN PAYMENTS OR TRANSFERS TO CREDITORS
   WITHIN 90 DAYS BEFORE FILING THIS CASE
                                      Case 25-10308                 Doc 153             Filed 02/17/25        Page 16 of 18
Diamond Select Toys & Collectibles, LLC
Case No. 25-10312
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                         Total Amount       Reasons for Payment
                    Creditor Name                                             Address                          Dates
                                                                                                                           or Value             or Transfer
                                                   ITADA RUA DE SENG TOU HOU KENG GARDEN BL 21 7 ANDAR
   AG COM WENG FUNG WAN LDA
                                                   A MACAU 999078 CN                                         12/27/2024 $    53,847.15    SUPPLIERS OR VENDORS
   AG COM WENG FUNG WAN LDA Total                                                                                       $    53,847.15
   CHASE PURCHASING CARD                           277 PARK AVENUE, NEW YORK, NY 10012                       10/23/2024 $    20,000.00            OTHER
   CHASE PURCHASING CARD                           277 PARK AVENUE, NEW YORK, NY 10012                       11/26/2024 $    21,968.22            OTHER
   CHASE PURCHASING CARD                           277 PARK AVENUE, NEW YORK, NY 10012                       12/26/2024 $    16,777.70            OTHER
   CHASE PURCHASING CARD Total                                                                                          $    58,745.92
   DISNEY CONSUMER PRODUCTS, INC                   500 SOUTH BUENA VISTA STREET, BURBANK, CA, 91521, USA     11/26/2024 $ 1,033,345.00            OTHER
   DISNEY CONSUMER PRODUCTS, INC                   500 SOUTH BUENA VISTA STREET, BURBANK, CA, 91521, USA      1/3/2025 $    275,000.00            OTHER
   DISNEY CONSUMER PRODUCTS, INC Total                                                                                  $ 1,308,345.00
   ELITE PRODUCTION (HK) LTD                       OCEAN CTR HARBOUR CITY 5 CANTON RD KOWLOON HK             12/27/2024 $    53,104.80    SUPPLIERS OR VENDORS
   ELITE PRODUCTION (HK) LTD Total                                                                                      $    53,104.80
   IFS                                             14245-14249 ARTESIA BLVD, LA MIRADA, CA, 90638, USA       11/21/2024 $    19,882.04          SERVICES
   IFS                                             14245-14249 ARTESIA BLVD, LA MIRADA, CA, 90638, USA       12/27/2024 $    30,732.70          SERVICES
   IFS                                             14245-14249 ARTESIA BLVD, LA MIRADA, CA, 90638, USA        1/8/2025 $      8,318.75          SERVICES
   IFS Total                                                                                                            $    58,933.49
                                                   UNIT 1003, SHAUNG SHUI CENTER, 3, CHI CHEONG ROAD,
   KIN KIN MOULD
                                                   SHEUNG SHUI, NT, HONG KONG                                 1/7/2025  $    100,000.00   SUPPLIERS OR VENDORS
   KIN KIN MOULD Total                                                                                                  $    100,000.00
   NETFLIX CPX, LLC                                5808 W. SUNSET BLVD, LOS ANGELES, CA, 90028, US           11/21/2024 $     25,337.76           OTHER
   NETFLIX CPX, LLC Total                                                                                               $     25,337.76
                                                   FLAT 1714,SHEUGN SHING HSE UPPER NGAU TAU KOK EST
   P.D. WORKSHOP
                                                   KWUN TONG, KOWLOON HK                                     10/29/2024 $     30,000.00   SUPPLIERS OR VENDORS
                                                   FLAT 1714,SHEUGN SHING HSE UPPER NGAU TAU KOK EST
   P.D. WORKSHOP
                                                   KWUN TONG, KOWLOON HK                                     11/22/2024 $     25,000.00   SUPPLIERS OR VENDORS
                                                   FLAT 1714,SHEUGN SHING HSE UPPER NGAU TAU KOK EST
   P.D. WORKSHOP
                                                   KWUN TONG, KOWLOON HK                                     12/27/2024 $     35,000.00   SUPPLIERS OR VENDORS
                                                   FLAT 1714,SHEUGN SHING HSE UPPER NGAU TAU KOK EST
   P.D. WORKSHOP
                                                   KWUN TONG, KOWLOON HK                                      1/8/2025  $     30,000.00   SUPPLIERS OR VENDORS
   P.D. WORKSHOP Total                                                                                                  $    120,000.00
   RCM&D                                           P.O. BOX 74608, CLEVELAND, OH, 44194-0691, USA            11/15/2024 $      3,932.34         SERVICES
   RCM&D                                           P.O. BOX 74608, CLEVELAND, OH, 44194-0691, USA            11/15/2024 $      4,351.09         SERVICES
   RCM&D                                           P.O. BOX 74608, CLEVELAND, OH, 44194-0691, USA            12/27/2024 $      3,932.34         SERVICES
   RCM&D Total                                                                                                          $     12,215.77
   RUBIN & FRIEDA FENSTER FAMILY LTD
                                                   7100 HAYVENHURST AVE, STE 211, VAN NUYS, CA, 91406, USA
   PARTNERSHIP                                                                                               11/7/2024   $     6,800.00         SERVICES
   RUBIN & FRIEDA FENSTER FAMILY LTD
                                                   7100 HAYVENHURST AVE, STE 211, VAN NUYS, CA, 91406, USA
   PARTNERSHIP                                                                                               12/6/2024   $     6,800.00         SERVICES
   RUBIN & FRIEDA FENSTER FAMILY LTD
   PARTNERSHIP Total                                                                                                    $    13,600.00
   UPS/ACH ACCT                                    P.O. BOX 809488, CHICAGO, IL, 60680, USA                  10/24/2024 $     4,614.53          SERVICES
   UPS/ACH ACCT                                    P.O. BOX 809488, CHICAGO, IL, 60680, USA                  11/18/2024 $     4,011.48          SERVICES
   UPS/ACH ACCT                                    P.O. BOX 809488, CHICAGO, IL, 60680, USA                  12/30/2024 $    16,811.20          SERVICES
   UPS/ACH ACCT Total                                                                                                   $    25,437.21
   VENTURE MANUFACTURING LTD                       27 HILLIER STREET, #1102, SHEUNG WAN, HONG KONG            1/6/2025 $     82,576.00    SUPPLIERS OR VENDORS
   VENTURE MANUFACTURING LTD Total                                                                                      $    82,576.00
   VIACOM MEDIA NETWORKS                           P.O. BOX 412276, BOSTON, MA, 02241-2276, USA              11/21/2024 $    40,083.84            OTHER
   VIACOM MEDIA NETWORKS Total                                                                                          $    40,083.84
   GRAND TOTAL                                                                                                          $ 1,952,226.94




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     STATEMENT OF FINANCIAL AFFAIRS


                          EXHIBIT
                     PART 2, QUESTION 4

PAYMENTS OR OTHER TRANSFERS OF PROPERTY MADE
   WITHIN 1 YEAR BEFORE FILING THIS CASE THAT
             BENEFITTED ANY INSIDER
                           Case 25-10308            Doc 153      Filed 02/17/25         Page 18 of 18

Diamond Select Toys & Collectibles, LLC
Case No. 25-10312
SOFA 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider


                                                     Total Amount                                                  Relationship
          Insider's Name            Dates                                  Reasons for Payment or Transfer
                                                       or Value                                                     to Debtor
                                                                      REIMBURSEMENT FOR DST TRADE
   CHUCK PARKER                    10/18/24                $25,438.40 SHOW EXPENSE                           PRESIDENT - DCD


   CHUCK TERCEIRA              1/26/24 - 01/10/25         $161,740.26 COMPENSATION                           PRESIDENT - DST


   GRAND TOTAL                                            $187,178.66




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